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                  Exhibit 4
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University Term Professor (2018-21)
University of Florida
Levin College of Law
P.O. Box 117625
Gainesville, FL 32611
352-273-0660 (p)
352-392-3005 (f)




From: "Rosenbury,Laura Ann" <rosenbury@law.ufl.edu>
Date: Friday, July 10, 2020 at 8:15 AM
To: "Harrison,Jeffrey L" <harrisonj@law.ufl.edu>, Kenneth Nunn <nunn@law.ufl.edu>
Cc: Steven Willis <willis@law.ufl.edu>
Subject: Re: UF Law Community Update for July 9, 2020

Thank you, Jeff. There is absolutely no penalty if a professor discloses the potential conflict of interest, waits for the
university’s decision, and then follows that decision. If a professor fails to disclose or participates even after the
university deems it a conflict of interest, then the General Counsel’s office would determine the consequences. This is
the protocol for all potential conflicts of interest.

Laura

From: "Harrison,Jeffrey L" <harrisonj@law.ufl.edu>
Date: Thursday, July 9, 2020 at 10:53 PM
To: "Rosenbury,Laura Ann" <rosenbury@law.ufl.edu>, "Nunn, Kenneth B." <nunn@law.ufl.edu>
Cc: "Willis,Steven J" <willis@law.ufl.edu>
Subject: RE: UF Law Community Update for July 9, 2020

Laura, would it be possible to explain what disclosure entails? Are you suggesting that a law professor participating the
activity could be sanctioned in some way? Fired, loss of tenure, decrease in pay in pay, demoted. Ken, I am happy to
sign and not worry about the consequences of disclosure or, frankly, non disclosure.

Jeff H.

From: Rosenbury,Laura Ann <rosenbury@law.ufl.edu>
Sent: Thursday, July 9, 2020 9:54 PM
To: Nunn, Kenneth B. <nunn@law.ufl.edu>
Cc: . LAW-Faculty Voting <LAW-FacultyVoting@ad.ufl.edu>
Subject: Re: UF Law Community Update for July 9, 2020

Dear Ken,

You are correct that this is not an outside activity, but it is a potential conflict of interest because the amicus
brief will be filed in an action against the state. You, and others, must therefore disclose on that basis.

I’m happy to talk with anyone by phone or zoom if you have any other questions.

Thank you,

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Laura

Laura Ann Rosenbury
Dean, UF Levin College of Law




        On Jul 9, 2020, at 7:33 PM, Nunn, Kenneth B. <nunn@law.ufl.edu> wrote:

        Laura,

        I wanted to ask you to clarify your notice this afternoon that “If you seek… to write or sign on to an
        amicus brief in support of a party suing the state of Florida, you must fill out a disclosure form
        through UFOLIO and receive approval before participating.” I ask this because I am looking to
        sign on as an amicus in Jones v. DeSantis, a case seeking to enforce the citizen initiative
        Amendment 4 and provide voting rights to ex-felons who have served their sentences.

        I’m sure you will not disagree that advocating on the behalf of ex-felons is a laudable public
        interest end that falls within the purview of typical activities pursued by criminal law and
        procedure professors. If one must seek UFOLIO approval before participating in any litigation
        adverse to the State of Florida, that would mean that a criminal law professor could not engage
        in the practice criminal law at all, without approval, as criminal defense is always adverse to the
        state.

        Such a position would contradict your earlier guidance about the type of activities for which
        UFOLIO disclosure was required. In your email of February 10th, you stated that one did NOT
        have to report “writing or signing on to an amicus brief in your capacity as an individual law
        professor.” This is distinguished from situations where one acts as counsel for an individual or
        group and writes an amicus brief for that group. Can you please clarify this issue as it is an
        urgent matter, since several law faculty would like to sign the amicus brief in Jones v. DeSantis.

        Kenneth

        Excerpt from February 10, 2020 email re “Faculty Disclosure Obligations.”

        As such, activities such as the following are NOT considered relevant outside activities and
        need NOT be disclosed on UFOLIOeven if you receive a modest honorarium for your work:

            Activities Considered Part of Your UF Assignment and Therefore NOT Outside
                Writing a casebook
                Reviewing a law-related manuscript
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       Writing or signing on to an amicus brief in your capacity as an individual law professor
       Presenting a paper at another law school; however, as explained above in #1, you will
       still need to complete the UF Law Fund or Travel Request Form

   Activities Considered Unrelated to Your UF Expertise and Therefore NOT Relevant
       Teaching yoga classes or other classes completely unrelated to law
       Mentoring or supervising children
       Engaging in religious activities or social activities
       Engaging in community activities completely unrelated to law
       Going to political rallies

Conversely, activities such as the following that are not part of your UF assignment but related
to law MUST be disclosed whether they are paid or unpaid:

   Activities Considered to be Relevant Outside Activities that MUST Be Disclosed
       Law-related teaching or research for an entity other than UF
       Legal work or consulting for any individual or entity
       Amicus briefs written for another individual or entity
       Service on for-profit or non-profit boards of directors
       Participation in business entities related to law or legal regulation (including forming
       such entities)




From: "Rosenbury,Laura Ann" <rosenbury@law.ufl.edu>
Date: Thursday, July 9, 2020 at 4:48 PM
To: ". LAW-Campus" <LAW-Campus@law.ufl.edu>
Subject: UF Law Community Update for July 9, 2020

Dear Colleagues,

I hope you are staying safe and well as we approach the middle of summer. Tomorrow, the
university will send an email about the university’s general plan for the fall semester. That plan
provides a useful overview for undergraduate and graduate school teaching, but it does not
address the specific needs of graduate schools. Please continue to look out for messages from
the College of Law like this one. Below are a few additional updates and announcements.

Student Information for the Fall Semester
Tomorrow, July 10, is the deadline for our rising 2Ls and 3Ls to opt out of in-person
instruction. We hosted a town hall last week to answer many of their questions. We provided
students with the same information about safety precautions in the classroom and outside of
class that we have previously provided to you. We also provided them with this additional
information:

       Limited Access to Buildings
       Our buildings will be locked at all times and will not be accessible to the public or
       undergraduate students at any point during the semester. College of Law faculty, staff,
       and students taking in-person courses will have swipe card access to parts of our
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 buildings during designated hours only. Classrooms and study rooms will not be
 available for general use. Larger common areas – including the library, commons,
 student center, and experiential learning hub – will be available for use only if physical
 distancing guidelines are followed. Staff will monitor physical distancing, and common
 areas will be closed when we do not have adequate staff to do so. We are still
 determining the exact hours that common areas will be available via swipe card; at the
 moment, all we can say is that it will not be 24-hour access. Students opting out of in-
 person instruction will initially not have access to our buildings but may be granted
 access later in the semester.

 No In-Person Events or Meetings
 In order to prioritize in-person instruction, we will not host any in-person events this
 fall. We will host several virtual events, however, and we stand ready to help student
 groups organize virtual events. The Office of Student Affairs is also obtaining tools to
 better support virtual meetings and activities of student groups. Co-curriculars and
 student organizations will not be able to meet regularly on campus, and we are working
 with faculty advisors and student leaders to determine if it is possible to monitor
 physical distancing for occasional student meetings. In any event, we ask all student
 groups to provide remote options for students opting out of in-person instruction and to
 prepare for the possibility of entirely virtual interaction this fall. As previously
 mentioned, all faculty office hours during the fall semester will be conducted remotely,
 as will all meetings between students and the Student Affairs team and the Career and
 Professional Development team. We are developing protocols to make it easy to
 schedule these virtual meetings.

 Protecting our Community
 We will count on all members of our community to keep our campus safe this
 fall. Please do not prop open or hold the doors for others. The polite and respectful
 approach is to ask everyone to swipe into our buildings! Likewise, if you see someone
 without a mask, please remind them to put one on. If you see a group that is gathered
 closely, please remind the group to physically distance. Please also avoid off-campus
 gatherings, particularly at bars and other establishments that make physical distancing
 impossible. If you begin to feel ill or experience any symptoms related to COVID-19,
 please stay home and consult with your medical provider. Please also contact Dean
 Inman, who will make sure you are able to participate in your courses remotely or have
 access to class recordings.

 Taping of Classes
 The majority of each course will be taught in a synchronous manner. Students are
 strongly encouraged to attend every class session and to actively participate in class
 discussion, whether students are participating in the classroom or
 remotely. Attendance will be required for all students, and professors may lower grades
 or drop students from the course for lack of attendance. Some professors may choose
 to tape all class sessions and make them available for students. Other professors may
 decline to do so in order to encourage more robust class participation. Access to
 recorded class meetings will be guaranteed only for those students with documented
 accommodations or medical needs.

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JLPP Publishing Special Online Black Lives Matter Issue
Our students on the Journal of Law and Public Policy (JLPP) are creating a special, online Black
Lives Matter issue and are seeking submissions from you and your networks. The theme of the
issue is intentionally broad to allow for a wide variety of submissions, but the editors ask that
submissions relate to social justice, racial disparities, police practices, criminal law,
constitutional law, or any other topic relevant to the current conversation about racial justice in
the United States. JLPP will accept essays and other short pieces of 3000 to 5000 words
until August 9. Please send submissions or any questions to JLPP Editor Jerron Wheeler
at jerronwheeler@ufl.edu. I thank these amazing students for spearheading this important
project, and I thank each of you for spreading the word about this opportunity.

National Security Junior Scholars Workshop on July 15
Maryam Jamshidi has organized a National Security Junior Scholars Workshop on Wednesday,
July 15 from 9:00 a.m. - 4:00 p.m. with a truly impressive lineup of national scholars. I thank
Maryam for her leadership, and I encourage you to participate as an audience member. Please
just RSVP. If you have any questions, please contact Maryam at jamshidi@law.ufl.edu.

Participating in Litigation Against the State of Florida, including via Amicus Briefs
I remind you that faculty participation in litigation against the state of Florida or any agency
thereof, including through amicus briefs, is considered a potential conflict of interest. If you
seek to participate in such litigation or to write or sign on to an amicus brief in support of a
party suing the state of Florida, you must fill out a disclosure form through UFOLIO and receive
approval before participating. You may access UFOLIO at https://coi.ufl.edu/. Entities of the
College of Law, such as centers, clinics, or other classes, seeking to participate in such litigation
or amicus briefs must separately receive approval from me, the General Counsel, and President
Fuchs. Please contact me if you have any questions about these policies.

We will continue to share updates as the semester approaches. For now, please continue to
take care of yourselves!

Laura


Laura Ann Rosenbury
Dean and Levin, Mabie & Levin Professor of Law
University of Florida
Fredric G. Levin College of Law
352-273-0603




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